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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

JOSHUA CHAMPION,                                :
                                                :       Case No. 2:21-cv-10814
                        Plaintiff,              :
                                                :
v.                                              :
                                                :
THE CREDIT PROS                                 :
INTERNATIONAL CORPORATION,                      :       May 6, 2021
a New Jersey corporation, and JASON             :
KAPLAN                                          :
                     Defendants.                :


                      COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff Joshua Champion brings this Complaint and Demand for Jury Trial against

Defendants The Credit Pros International Corporation (“Defendant Credit Pros”) and Jason

Kaplan (“Defendant Kaplan”) (collectively, “Defendants”) to stop Defendants from violating the

Telephone Consumer Protection Act (“TCPA”) by sending unsolicited, autodialed text messages

to consumers, including consumers whose phone numbers are registered on the National Do Not

Call registry, and to otherwise obtain injunctive and monetary relief. Plaintiff, for this

Complaint, alleges as follows upon personal knowledge as to himself and his own acts and

experiences, and, as to all other matters, upon information and belief, including investigation

conducted by his attorneys.

                                     JURISDICTION AND VENUE
        1.      This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331
because this action arises under the TCPA which is a federal statute.
        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a significant
portion of the facts giving rise to this lawsuit occurred in this District.




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                                             PARTIES
       3.        Champion is an individual and is a resident of Washington, D.C.
       4.        Defendant Credit Pros is a New Jersey corporation headquartered in Newark,
New Jersey. Defendant Credit Pros conducts business nationwide, including in this District.
       5.        Defendant Jason Kaplan (“Defendant Kaplan”) is the President of Defendant
Credit Pros. Defendant Kaplan resides in New Jersey.
                                   FACTUAL ALLEGATIONS
       6.        Defendant Credit Pros is a New Jersey corporation that markets itself as a credit
repair company, run by Defendant Kaplan. Credit Pros also connects strategic partners to assist
them in monetizing their clients and traffic: mortgage bankers, realtors, home service call
centers, performance marketers, affiliate networks, auto dealerships, network marketing
companies, business lenders, mca lenders and crowdfunding platforms.

       7.        Defendant Credit Pros engages in telemarketing.
       8.        Defendant Credit Pros advertises its credit repair solutions to consumers through
telemarketing.
       9.        To generate and monetize leads for clients, Defendant Credit Pros engages in
unsolicited telemarketing, including sending unsolicited marketing text messages.
       10.       Defendant Credit Pros has been sued multiple times for violations of the TCPA.
       11.       Defendant Kaplan knows that Defendant Credit Pros’ telemarketing is in violation

of the TCPA, yet continues to provide and/or approve the content of all marketing materials and
text messages sent by Defendant Credit Pros or on its behalf.
       12.       Defendant Credit Pros does not obtain prior express written consent to send
autodialed text messages before sending autodialed text messages to consumers.
       13.       Defendant Credit Pros sends telemarketing text messages to consumers who are
registered on the National Do Not Call Registry (“DNCR”).
       14.       Champion is the residential subscriber of the cellular telephone number XXX-
XXX-0336. Champion registered this number on the DNCR.


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       15.     Defendant Credit Pros and/or Defendant Kaplan knowingly and willfully sent text
messages to Champion at least 56 times without obtaining his prior express written consent.
Champion received more than one of these text messages within the past 12 months while
Champion was on the DNCR.
       16.     As an example, Defendant Credit Pros sent the following text message to
Champion—which upon information and belief Defendant Kaplan approved—from 304-996-
6238 on January 5, 2021 at 6:10PM UTC:


               Adam begin 2 0 2 1 with a credit improvement journey 3044037938 chat
               with our team now

       17.     The telephone number in each message sent to Champion reached Defendant
Credit Pros.
       18.     Champion has never gone by the name “Adam.”
       19.     Champion has never gone by the name “Adam Louati.”
       20.     Champion does not, and has never, lived at 3335 Willow Crescent Dr. Apt. T3,
Fairfax, VA 22030.
       21.     Champion’s IP address is not 98.202.108.60.
       22.     The IP address 98.202.108.60 is registered to a Comcast customer in Utah.
       23.     Champion does not, and has never, lived in Utah.
       24.     Champion was not in Utah on May 4, 2020.
       25.     Champion never provided consent to receive telemarketing calls from Defendant
Credit Pros and/or Defendant Kaplan and the calls were not for an emergency purpose.
       26.     These calls advertised the commercial availability of financial services and
encouraged the purchase of those services.
       27.     The calls were made using an Automatic Telephone Dialing System (“ATDS”).
This is based on the facts that:
               a)      the text messages were directed to the wrong person;


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               b)     the text messages were sent from 56 different telephone numbers to avoid
                      the numbers being blocked and to make it impossible for Mr. Champion to
                      block the messages;
               c)     substantively identical text messages were sent to Champion multiple
                      times;
               d)     multiple people have reported getting unsolicited calls from Credit Pros;
               e)     Defendant Credit Pros uses ATDS hardware or software to send text
                      messages. The hardware and/or software has the capacity to store or
                      produce cellular telephone numbers to be called, using a random or
                      sequential number generator, and/or to send text messages to numbers
                      from pre-loaded lists;
               f)     Defendant Credit Pros uses the autodialing system Five9. Five9 provides

                      users with predictive autodialer feature that features automated dialing
                      services and a predictive mathematical algorithm to increase agent
                      efficiency.
               g)     Defendant Credit Pros has been sued numerous times for sending
                      telemarketing messages using an ATDS; and
               h)     Numerous consumers have posted online complaints regarding receiving
                      unwanted text messages from Defendant Credit Pros.

       28.     The text messages did not provide the name of the individual caller.
       29.     The text messages did not provide the name of the person or entity on whose
behalf the call was being made, if any.
       30.     Defendant Kaplan is the President of Defendant Credit Pros, and personally runs,
authorizes, and oversees the telephone marketing. This is based on the facts that:
               a)     Defendant Kaplan is the face of Defendant Credit Pros marketing;
               b)     In at least one marketing video, Defendant Kaplan tells potential clients
                      “Instead of taking money from you, all I want is your contacts.”—offering


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                       people free services if they give contact information for three (3) people.
                       Upon information and belief, Defendant Credit Pros, with approval from
                       Defendant Kaplan, sends unsolicited telemarketing calls to those contacts.
               c)      Defendant Kaplan acts as Defendant Credit Pros Chief Compliance
                       Officer. Upon information and belief, in this role, he reviews and approves
                       all marketing by Defendant Credit Pros;
               d)      Defendant Kaplan is specifically responsible for all Defendant Credit Pros
                       compliance with state and federal laws; and
               e)      Defendant Kaplan failed to ensure marketing efforts by Defendant Credit
                       Pros complied with the TCPA despite receiving multiple lawsuits against
                       Defendant Credit Pros alleging non-compliance.
       31.     Defendants’ calls caused Plaintiffs actual harm, including invasion of privacy,

aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendants’ calls also
inconvenienced Plaintiffs and caused disruption to their daily life.
                                          LEGAL STANDARD
       32.     The TCPA provides that no person or entity shall make a call “using an automatic
telephone dialing system or an artificial or prerecorded voice… [t]o any… cellular telephone”
unless the call is “made for emergency purposes or made with the prior express consent of the
called party.” 47 U.S.C. § 227(b)(1)(A)(iii); see also 47 C.F.R. § 64.1200(a)(1).

       33.     If the call “introduces an advertisement or constitutes telemarketing” then “prior
express written consent” is required. 47 C.F.R. § 64.1200(a)(2) (emphasis added).
       34.     Residential telephone subscribers who do not want to receive telephone
solicitations may place their phone number on the national Do Not Call Registry.
       35.     The TCPA proscribes callers from making “any telephone solicitation to… [a]
residential telephone subscriber who has registered his or her telephone number on the national
do-not-call registry.” 47 C.F.R. § 64.1200(c)(2).




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       36.     The TCPA also prohibits callers from telemarketing to a residential telephone
subscriber without disclosing the caller’s identity and without instituting procedures for
maintaining an Internal Do Not Call List. 47 C.F.R. § 64.1200(d).
       37.     Both phone calls and text messages qualify as a “call” under the TCPA. See
Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 667 (2016).
       38.     Under the TCPA, an individual may be personally liable pursuant to 47 U.S.C.
§ 217, which provides that the “act, omission, or failure… of any officer… acting for or
employed by any common carrier or user, acting within the scope of his employment, shall in
every case be also deemed to be the act, omission, or failure… of such carrier or user as well as
of that person.” 47 U.S.C. § 217.
       39.     Courts have consistently held that an officer or employee can be held liable for
TCPA violations when personally involved in making or authorizing the calls. See e.g., City

Select Auto Sales Inc. v. David Randall Assocs., Inc., 885 F.3d 154, (3d Cir. 2018); Jackson Five
Star Catering, Inc. v. Beason, 2013 U.S. Dist. LEXIS 159985, *10 (E.D. Mich. Nov. 8, 2013).


                                 FIRST CAUSE OF ACTION:
                                 Violations of 47 U.S.C. § 227(b)
       40.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

       41.     Defendants’ use of an ATDS to contact Plaintiff constitutes a violation of 47
U.S.C. § 227(b).
       42.     As a result of Defendants’ negligent violations of 47 U.S.C. § 227(b), Plaintiff is
entitled to an award of $500.00 in statutory damages for each violation, pursuant to 47 U.S.C.
§ 227(b)(3)(B).
       43.     As a result of Defendants’ knowing and/or willful violations of 47 U.S.C.
§ 227(b), the court may award up to $1,500.00 in statutory damages for each violation, pursuant
to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).



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        44.    Plaintiff is also entitled to and seek injunctive relief prohibiting such conduct in
the future.
                                 SECOND CAUSE OF ACTION
                                 Violations of 47 U.S.C. § 227(c)
        45.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.
        46.    Pursuant to 47 C.F.R. § 64.1200(c), Defendants’ contact of Plaintiff’s residential

cell phone whose number appears on the National Do Not Call Registry constitutes a violation of
47 U.S.C. § 227(c).
        47.    Alternatively, pursuant to 47 C.F.R. § 64.1200(d), Defendants’ contact of
Plaintiff’s residential cell phone without instituting and following the requisite procedures for
telemarketing constitutes a separate violation of 47 U.S.C. § 227(c).
        48.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227(c), Plaintiff is
entitled to an award of $500.00 in statutory damages for each violation, pursuant to 47 U.S.C.
§ 227(c)(5)(B).
        49.    As a result of Defendants’ knowing and/or willful violations of 47 U.S.C.
§ 227(c), the court may award up to $1,500.00 in statutory damages for each violation, pursuant
to 47 U.S.C. § 227(c)(5)(B) and 47 U.S.C. § 227(c)(5)(C).
        50.    Plaintiff is also entitled to and seek injunctive relief prohibiting such conduct in

the future.
                                     RELIEF REQUESTED
        51.    Plaintiff respectfully request the Court grant Plaintiff the following relief against
Defendants:
        52.    Champion seeks an amount to be determined at trial that is not less than
$84,000.00 as a result of at least 56 violations of 47 U.S.C. § 227(b).
        53.    Champion also seeks an amount to be determined at trial that is not less than
$84,000.00 as a result of at least 56 violations of 47 U.S.C. § 227(c).



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     54.   Plaintiff seeks costs pursuant to 28 U.S.C. § 1920.
     55.   Plaintiff seeks judgment interest pursuant to 28 U.S.C. § 1961.
     56.   Plaintiff seeks injunctive relief prohibiting such conduct in the future.
     57.   Plaintiff seeks any other relief the Court may deem just and proper.




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